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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   In re Subpoena                         )   Case No.: 1:23-cv-00426-JMS-WRP
                                          )   (Copyright)
   Internet subscribers of Cox            )
   Communications, LLC and CoxCom         )   CERTIFICATE THAT NO
   LLC                                    )   TRANSCRIPT WILL BE
                                          )   ORDERED; CERTIFICATE OF
                                          )   SERVICE
                                          )
                                          )
                                          )

              CERTIFICATE THAT NO TRANSCRIPT WILL BE ORDERED

        Pursuant to Rule 10(b)(1)(B) of the Federal Rules of Appellate Procedure and

  Circuit Rule 10-3.1(a), Petitioner/Appellant Capstone Studios Corp. submits that no

  transcript will be ordered.




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        The Orders from which Appellant seeks relief were made based upon the

  pleadings and papers in this case without hearings. Accordingly, no transcripts have

  been recorded in this case.



        DATED: Kailua-Kona, Hawaii, June 29, 2024.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Petitioners




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